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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
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 SBN: 297798                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY deramus DEPUTY CLERK




     Chapter 13 Trustee
     Attorney for: Debtor
                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                      CASE NUMBER: 8:19-bk-12279-TA
                                                                             CHAPTER 13

 MARIA MERCEDES IBARRA DE ACOSTA                                                 ORDER    GRANTING      DENYING
                                                                              APPLICATION OF ATTORNEY FOR DEBTOR
                                                                                FOR ADDITIONAL FEES AND RELATED
                                                                                EXPENSES IN A PENDING CHAPTER 13
                                                                                  CASE SUBJECT TO A RIGHTS AND
                                                                                   RESPONSIBILITIES AGREEMENT
                                                                                   No hearing held
                                                                                   Hearing held
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                             Debtor(s).


Based on the Application for Additional Fees and Related Expenses in a Pending Chapter 13 Case Subject to a Rights
and Responsibilities Agreement (Application) filed on (date) 5/2/2022 as docket number 74, the court orders as follows:

1.        The Application is granted and the Attorney for Debtor is allowed the sum of $1,100.00 as compensation for
          Additional Services and the sum of $0.00 in expenses related to Additional Services referred to in the Application,
          and the Chapter 13 Trustee is directed to pay the unpaid balance of $1,100.00 from the estate of Debtor as funds
          permit.

2.        The Application is set for hearing on: (date)                         at (time)            .




            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3.      The Attorney for Debtor must file and serve appropriate notice of the hearing on Debtor and the Chapter 13 Trustee.

4.      The Application is denied.

5.      Other (specify):


                                                                        ###




                Date: May 24, 2022




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